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 5   Attorneys for Elli M. A. Mills, J.D., MBA, Receiver

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 8                                UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10   In re:                                        Civil Action No. 2:08-cv-01276-KJD-RJJ
11   RECEIVERSHIP OF PLACER COUNTY
     LAND SPECULATORS, LLC
12                                                 Date:          May 12, 2020
                                                   Time:          11:30 a.m.
13                                                 Judge:         Hon. Kent J. Dawson

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15                  ORDER APPROVING MOTION OF FELDERSTEIN FITZGERALD
                   WILLOUGHBY PASCUZZI & RIOS LLP FOR TWELFTH INTERIM
16                 ALLOWANCE OF ATTORNEYS’ FEES AND REIMBURSEMENT OF
                          EXPENSES AS COUNSEL FOR THE RECEIVER
17

18            Upon consideration of the Motion of Felderstein Fitzgerald Willoughby Pascuzzi & Rios

19   LLP (“FFWP”) for Twelfth Interim Allowance of Attorneys’ Fees and Reimbursement of

20   Expenses [Docket No. 1032], after a hearing on proper notice, the Court having considered the

21   motion and arguments, and good cause appearing,

22            IT IS ORDERED that:

23            1.      The Motion is granted;

24            2.      FFWP’s fees in the sum of $15,665.00 for fees and $2,409,48 for a total of

25   $18,074.48 for the period of January 1, 2019, through and including December 31, 2019, are

26   approved on an interim basis as fair, reasonable, and necessary to the administration of the

27   receivership estate; and

28   ///
                                                                  ORDER APPROVING TWELFTH INTERIM FEE
                                                                     MOTION OF FELDERSTEIN FITZGERALD
                                                   -1-                      WILLOUGHBY & PASCUZZI LLP
     Case 2:08-cv-01276-KJD-RJJ Document 1045 Filed 05/14/20 Page 2 of 2



 1          3.     The Receiver is authorized to pay FFWPR the 20% holdback for the period of

 2   January 1, 2019, through December 31, 2019, in the amount of $3,133.00.

 3   Dated: __________________,
                      May 14 2020

 4                                             ________________________________________
                                               UNITED STATES DISTRICT COURT JUDGE
 5                                             District of Nevada
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                                                                 ORDER APPROVING TWELFTH INTERIM FEE
                                                                    MOTION OF FELDERSTEIN FITZGERALD
                                                  -2-                      WILLOUGHBY & PASCUZZI LLP
